Case 1:18-cv-08280-KPF Document 8 Filed 09/26/18 Page 1 of 1

United States District Court
Southern District of New Yorl<

Jerrnaine Deleston,
AFF|DAV{T OF SERVlCE
Plaintiff, Civil Action No. l:lS~ev~8280

-against~

Kallejon Corp. d/b/a El Kallejon, and 207 E.
ll7'l`H Street LLC,

Defendants.

 

State of New Yorl<)

ss:
County of Albany )

Mary M. Bonville, being duly sworn, deposes and says:

Deponent is over the age of eighteen and is a resident of New York State and is not a party to this action. T hat
on September 25, 2018 at approximately l 1:50 AM deponent served the following speciiic papers pursuant to
Section 303 of the limited Liability Company LaW: Sumxnons in a Civil Action and Coniplaint for Injunctive
Relief With lndividual Rules of Practice of Judge Katherine Poll< Failla and lndividual Practices of Magistrate
Judge Stewart D. Aaron, that the party served was 207 E. ll'/TH Street LLC, a domestic limited liability
company, one of the defendants in this action, by personally serving two copies of the aforesaid papers at the
office of the New York State Secretary of State located at 99 Washington Avenue, 6th Floor, in the City of
Albany, New Yorl< by delivering to and leaving the papers with Sue Zouky, a white female with light brown
hair, being approximately 60 years of age; height of 5'0", Weight of 125 lbs., being an authorized person in the
Corporation Division of the Departrnent of State and empowered to receive such service. That at the time of
making such service, deponent paid the fee prescribed by Law in the amount of $40.00.

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0 Mary M Bonville

Sworn to before me thiso?5 ry day of Septernber, 2018
Vera B. Ray (./

Notary Public »- State of New York
Qualified in Albany County
Registration No. 01RA6133233
Commission Expires: 09-12~2021

